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Case: 25-60019 Document:11 Page:1 Date Filed: 01/29/2025

NOTICE OF FORM FOR APPEARANCE (See Fifth Cir. Rule 12)

Only attorneys admitted to the Bar of this Court may practice before the Court. Each attorney representing
a party must complete a separate form. (COMPLETE ENTIRE FORM unless otherwise noted).

Fifth Cir. Case NO. 25-60019

Susquehanna Nuclear, LLC ye, Federal Energy Regulatory Commission
(Short Title) ~ ogy?
The Clerk will enter my appearance as Counsel for F ederal Energy Regulatory Commission

—_—_—_—_—

(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT | _ |Petitioner(s) Respondent(s) [ _]Amicus Curiae

| | Appellant(s) [ _]Appellects) ie] Intervenor

— information below is current and identical to that listed in my Appellate Filer
R.

jared.fish@ferc.gov

(e-mail address) _

See! District of Columbia, #986071
(Type or print name) (Sta telBar No) — ———_—

Attorney-Adviso
(Title, ifany) = bon eaae

Federal Energy Regulatory Commission
Address 888 First Street NE_

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zip 20426

City & State Washington, DC

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Primary Tel_ 2929028101 gy) Phone: ___ (Optional)

NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. Other counsel must monitor the court's website for the posting of oral argument calendars.

Name of Lead Counsel: Jared B. Fish PRP, at sh Set ab |
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.

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| B. Inquiry of Counsel. To your knowledge:

(1) Is there any case now pending in this court, which involves the same, substantially the same, similar or related isssue(s)?
7

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ee No

(2) Is there any such case now pending in a District Court (i) within this Circuit, or (ii) in a Federal Administrative Agency which
would likely be appealed to the Fifth Circuit?

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(3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,
petition to enforce, review, deny?

eae [Y

(4) Does this case qualify for calendaring priority under 5th Cir. R. 47.7? If so, cite the type of case No

If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case:

Name of Court or Agency

Status of Appeal (if any)
Other Status (if not appealed)

—

NOTE: Attach sheet to give further details. DKT-5A REVISED June 2023

